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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE



  UNITED STATES DEPARTMENT
  OF AGRICULTURE,

  PLAINTIFF

  V.                                                   CIVIL ACTION NO.: 1:25-cv-00197-LEW

  VERONICA L. DYER

  DEFENDANT


                                  STATEMENT REGARDING
               ELIGIBILITY FOR FORECLOSURE DIVERSION PROGRAM
       NOW COMES the United States Department of Agriculture (the “Plaintiff”), by and through

its undersigned Counsel, and responds to the Court’s Order to Submit Submission Regarding Case’s

Eligibility for the Foreclosure Diversion Program [Dkt. No. 8] (the “Submission Order”) as follows:

   1. On or about April 29, 2025, the Plaintiff filed a complaint for foreclosure and order of sale

against the Defendant, Veronica L. Dyer (the “Defendant”), respecting the real property located at or

about 36 Oak Hill Acres, Monmouth, Maine 04259 (the “Subject Property”) [Dkt. No. 1].

   2. On or about May 5, 2025, the Defendant was served with the Summons, Complaint and related

paperwork at 362 Route 133, Winthrop, Maine [Dkt. No. 5].

   3. On or about June 6, 2025, the Defendant filed a Response to Foreclosure Complaint and

Request for Mediation (the “Homeowner Response”) [Dkt. No. 6] requesting mediation in this case.

On the Homeowner Response, the Defendant provided a mailing address of 362 Route 133, Winthrop,

Maine 04364.




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   4. On or about June 8, 2025, this Court issued the Submission Order, pursuant to which the

Plaintiff was ordered to submit a statement regarding the case’s eligibility for the Foreclosure

Diversion Program [Dkt. No. 8].

   5. Pursuant to 14 M.R.S. 6321-A (10), the Defendant must meet each of the following criteria in

order to be eligible for the Foreclosure Diversion Program:

               a)     The Subject Property must be owner occupied;

               b)     The Subject Property must be a residential property;

               c)     The Subject Property must be the primary residence of the Defendant.

   6. Upon information and belief, the Defendant does not reside at the Subject Property, and it is

not the primary residence of the Defendant, and therefore, the Subject Property does not meet the

criteria to be included in the Foreclosure Diversion Program.

   WHEREFORE, the Plaintiff prays that this Court determine that the Submission Order has been

satisfied upon the Plaintiff’s filing of this Statement Regarding Eligibility for Foreclosure Diversion

Program, and that it grant such other relief as may be just and proper under the circumstances.


Dated this June 11, 2025
                                                     /s/ Kevin J. Crosman
                                                     Kevin J. Crosman, Bar No. 4279
                                                     Attorney for Plaintiff
JENSEN BAIRD
Ten Free Street
PO Box 4510
Portland, Maine 04112-4510
(207) 775-7271
kcrosman@jensenbaird.com




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 11, 2025, I caused a copy of the foregoing to be served by way
of the ECF system, which will send notice of such filing to all counsel of record.

       The following parties were notified by First Class Mail, Postage Pre-Paid:
                                             Veronica L. Dyer
                                              362 Route 133
                                          Winthrop, Maine 04364

       Dated at Portland, Maine, this 11th day of June 2025.

                                                     /s/ Kevin J. Crosman
                                                     _____________________________
                                                     Kevin J. Crosman, Bar No. 4279
                                                     Attorney for Plaintiff




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